                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE




HARPETH RIVER WATERSHED
ASSOCIATION,
Plaintiff,
                                                 Case No. 3:14-1743
v.
                                                 Judge Kevin Sharp

THE CITY OF FRANKLIN,                            Magistrate Judge John Bryant
TENNESSEE,
Defendant.




  ORDER GRANTING JOINT MOTION TO APPROVE SETTLEMENT
 AGREEMENT AND DISMISS WITH PREJUDICE, RETAINING JURISDICTION TO
 ENFORCE THE AGREEMENT UPON CONCLUSION OF 45-DAY REVIEW PERIOD
                              BY UNITED STATES



        Having observed an appropriate review period, having reviewed the Settlement

Agreement, and upon consideration and for good cause shown, the Court GRANTS Plaintiff

Harpeth River Watershed Association and Defendant City of Franklin (the “Parties”) joint

motion to approve their Settlement Agreement and dismiss the case with prejudice with the Court

retaining jurisdiction as follows:

        The Court finds that that this Agreement has been negotiated by the Parties in good faith

and will avoid litigation between the Parties;




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       The Court further finds that this Agreement is an adequate and equitable resolution of the

claims in Plaintiff’s Complaint; and

       The Court hereby dismisses the case with prejudice, but retains jurisdiction to enforce the

Agreement.

                                       It is so ORDERED.

                                       _________________________
                                       KEVIN H. SHARP
                                       United States District Judge




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